        Case 3:22-cv-00294 Document 8 Filed on 10/10/22 in TXSD Page 1 of 13




                                 UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                      GALVESTON DIVISION

SANDRA BENOIT and LINDA A.                              §
SMITH,                                                  §
                                                        §
          Plaintiffs,                                   §
                                                        §
vs.                                                     §           CIVIL ACTION NO. 3:22-CV-00294
                                                        §
LEE & MURPHY LAW FIRM,                                  §
ERIN MURPHY, CLARK, LOVE &                              §
HUSTON, G.P., CLAYTON A.                                §
CLARK, SCOTT A. LOVE, BLAKE                             §
DEADY, and SHELLEY HUSTON.                              §
                                                        §
          Defendants.                                   §

    THE CLH DEFENDANTS 1 MOTION TO TRANSFER VENUE FOR CONVENIENCE

          The CLH defendants (collectively “CLH” or “Defendant”) file this Motion to Transfer

Venue for Convenience. In support, CLH respectfully shows this Court the following:

                                               I.
                                      STATEMENT OF THE ISSUE

          Based on the convenience of the parties and to prevent the injustice occasioned by blatant

forum shopping, the Court should transfer this case to the Houston Division of the Southern

District of Texas, with a notation that it is related to Cause No. 4:19-CV-02148; Tammy Alvarado,

et. al. v. Clark Love & Huston, GP, et. al., In the United States District Court for the Southern

District of Texas, Houston Division (the “Alvarado Case”). 2 The Alvarado Case involved the

same facts, the same allegations, the same underlying aggregate settlement, the same lawyer

defendants, and the same plaintiffs’ lawyers, and has already been fully litigated and decided by

Judge Andrew S. Hanen in a thorough 30-page summary judgment opinion.


1
      The CLH defendants are Clark Love & Hutson, GP, Clayton Clark, Scott Love, Shelley Hutson, and Blake Deady.
2
      The Alvarado Case may be found at Alvarado v. Clark Love & Huston, GP, 2021 WL 1428477 (S.D. Tex. 2021).
      Case 3:22-cv-00294 Document 8 Filed on 10/10/22 in TXSD Page 2 of 13




           Moreover, although as we discuss next Plaintiffs Sandra Benoit (“Benoit”) and Linda A.

Smith (“Smith”) filed this suit in the Galveston Division of the Southern District of Texas solely

in an effort to avoid federal or state courts in Houston—courts in which Benoit and Smith and/or

their lawyers have already failed in asserting the same claims—neither Benoit nor Smith reside in

Galveston, none of the defendants have ever resided or had an office in Galveston, and none of the

lawyers involved in this case reside or have an office in Galveston. To the contrary, Benoit resides

in Illinois, Smith resides in California, all of the defendants reside and office in Houston, CLH’s

and the other defendants’ lawyers reside and office in Houston, and Benoit’s and Smith’s lawyers

reside and office in Chappell Hill and Dallas. This case should be transferred to the Houston

Division of the Southern District of Texas.

                                             II.
                                        INTRODUCTION

           Benoit and Smith, former clients of CLH, seek damages relating to the handling and

settlement of their underlying transvaginal mesh (“TVM”) cases that were resolved by way of a

judicially administered trust in Wharton County, Texas. CLH objects to venue in the Galveston

Division of the Southern District of Texas and seeks transfer to the Houston Division of the

Southern District of Texas for the convenience of the parties and witnesses and in the interest of

justice.

           Indeed, Judge Andrew S. Hanen of the Houston Division has already addressed and

disposed of via summary judgment the same claims involving other former CLH clients in the

Alvarado Case. Consequently, maintenance of this suit in the Galveston Division would work an

injustice on CLH considering (a) the substantial time that has been invested by CLH litigating to

conclusion the same claims involving, in part, the same counsel in the Houston Division, (b) the

depth to which Judge Hanen gave a detailed analysis that led to the disposition of all claims in the

                                                 2
      Case 3:22-cv-00294 Document 8 Filed on 10/10/22 in TXSD Page 3 of 13




Alvarado Case, which involved two consolidated lawsuits filed by five claimants making

essentially the same claims that Benoit and Smith make here, (c) the fact that this lawsuit would

effectively create a risk of an inconsistent outcome from the Alvarado Case, (d) the fact that this

lawsuit itself was originally filed in a Houston state district court only to be voluntarily non-suited

by Benoit and Smith when it was transferred to the court that administered the underlying TVM

settlement (Wharton County state district court), and (e) the obvious forum shopping that has

occurred here (Benoit and Smith first filing this case in Harris County state court to avoid the

Houston Division of the Southern District of Texas where the Alvarado Case was litigated, then

non-suiting the state court case when it was transferred to the forum where the underlying TVM

case was settled, and then filing in the Galveston Division of the Southern District to once again

avoid the Houston Division).

       The balance of interests of all parties predominates in favor of the suit being transferred to

the Houston Division, a venue that would not work an injustice to any other party and a venue that

would foster both consistency and efficiency. As the Houston Division is the most convenient and

judicially consistent and efficient venue under the circumstances, the Court should transfer this

case to the Houston Division.

                                            II.
                                   FACTUAL BACKGROUND

A.     The underlying mass tort settlement is administered by a state district court in
       Wharton County and Plaintiffs are paid.

       In approximately 2011, CLH began representing numerous claimants in nationwide mass

tort litigation against several manufacturers of TVM. Two of those claimants were Benoit and

Smith, who had claims against Boston Scientific Corporation (BSC). After CLH filed suit on the

mass tort settlement in Wharton County, it then filed interventions on behalf of Benoit and Smith.



                                                  3
       Case 3:22-cv-00294 Document 8 Filed on 10/10/22 in TXSD Page 4 of 13




In 2015, CLH finalized an aggregate settlement with Boston Scientific (one of the TVM

manufacturers), for which the Judge of the 23rd Judicial District Court of Wharton County would

oversee. Benoit and Smith chose to participate in the aggregate settlement process, and in 2016

voluntarily executed a release in favor of the underlying defendant (BSC) while accepting the

amount proposed to them via the judicially administered and approved settlement process. 3 Benoit

and Smith were paid pursuant to that process.

B.       After receiving unlawful solicitations to sue CLH, certain former clients brought suit
         in the Houston Division asserting the same claims as are now being made here.

         Sometime after the settlement trust had been administered to the point of paying both

Benoit and Smith their agreed upon recoveries, certain lawyers who ultimately came to represent

Benoit and Smith began soliciting CLH TVM clients to sue the law firm. 4 Those improper

solicitation efforts came to an end after the Wharton County District Court issued an injunction

prohibiting the wrongful solicitations, a ruling that was upheld on appeal. 5

         While the injunction stopped the wrongful solicitation campaign, two federal lawsuits in

the Houston Division of the Southern District of Texas had already been filed by a total of five

former CLH TVM clients who had previously been solicited. 6 The two suits named as defendants

CLH, its three principals and their professional corporations (Clayton A. Clark, Esq., P.C., Shelley

Hutson, Hutson Law Firm, P.C., Scott A. Love, and Scott A. Love, P.C.), and another law firm

together with its two principals (Lee Murphy Law Firm, James Lee Law Firm, P.C., and Erin

Murphy).




3
     Exhibits 1 and 2.
4
     Exhibit 4; see also, Beggs v. Clark Love & Huston, PLLC, 2020 WL 73943 (Tex.App.—Corpus Christi 2020,
     pet. denied).
5
     Id.
6
     Exhibits 6 and 7.

                                                      4
       Case 3:22-cv-00294 Document 8 Filed on 10/10/22 in TXSD Page 5 of 13




         The first lawsuit was filed by four of CLH’s former TVM clients and included the

underlying BSC litigation at issue here. The second lawsuit was filed by another of CLH’s former

TVM clients. The two lawsuits were consolidated into one, the Alvarado Case, in Judge Hanen’s

court given the identical nature of the allegations, which are now being repeated in this case. 7

         The docket sheet from the Alvarado Case reflects the heavy activity in the consolidated

litigation, 8 which includes a protective order governing the production of more than 500,000 pages

of records that the plaintiffs requested from CLH pursuant to 4,534 written discovery requests

contained in an oppressive 99 separate sets of written discovery. There were also 11 depositions

taken in that case and full expert reports exchanged. There were motions to seal, motions to

compel, motions addressing third-party subpoenas, motions for summary judgment, and pre-trial

filings. To say the least, the Alvarado Case in Judge Hanen’s court was fully litigated.

         The crux of plaintiffs’ claims in the Alvarado Case was that CLH let the statute of

limitations run on the clients’ respective underlying claims, supposedly did not then tell the clients,

and consequently the clients allegedly received a lower settlement amount. Those plaintiffs

asserted that the conduct amounted to a breach of fiduciary duty, legal malpractice, and fraud. 9

         After full discovery, CLH and the other defendants in the Alvarado Case filed motions for

summary judgment. While the motions were pending, Benoit’s and Smith’s current counsel moved

to substitute in as lead counsel for the plaintiffs in the Alvarado Case. 10 Thereafter, on April 15,

2021, Judge Hanen entered his 30-page order and opinion granting CLH’s and the other

defendants’ motions for summary judgment. 11




7
     Exhibit 5.
8
     Exhibits 6 and 7; see also Exhibit 3, Scott Love Affidavit.
9
     Exhibit 8.
10
     Exhibit 9.
11
     See Exhibit 1.

                                                           5
        Case 3:22-cv-00294 Document 8 Filed on 10/10/22 in TXSD Page 6 of 13




         Less than 30 days after Judge Hanen’s summary judgment ruling, Benoit’s and Smith’s

counsel shopped a new forum by filing Benoit’s and Smith’s case (now before this Court) in the

334th District Court of Harris County on May 13, 2021. 12 Benoit’s and Smith’s claims against CLH

and the other defendants, as they still do now, largely mirrored the claims made in the Alvarado

Case.

         On August 26, 2021, CLH filed a motion to transfer the Harris County state court lawsuit

to Wharton County, where Benoit’s and Smith’s underlying TVM claims were filed and where a

special master and the Court approved Benoit’s and Smith’s settlements. 13 CLH set its venue

motion for hearing on November 5, 2021, 14 but on October 6, 2021 (the date that Benoit’s and

Smith’s response to the venue motion was due), Benoit and Smith voluntarily dismissed all of their

claims against CLH to avoid the impending transfer. 15

         Then, on November 19, 2021 in the state court case, Defendant Lee & Murphy Law Firm,

G.P. filed a third-party petition against CLH, bringing CLH back into the lawsuit as a third-party

defendant. 16 On November 29, 2021, CLH filed another motion to transfer venue to Wharton

County, now as a third-party defendant. 17 On March 24, 2022, the 334th Judicial District Court of

Harris County transferred the case to Wharton County. 18 On June 20, 2022, Benoit and Smith

voluntarily non-suited the entire case.. 19

         At that point, there were no other proceedings pending. But that was not to last. On August

19, 2022, Benoit and Smith filed this case, asserting claims that include breach of fiduciary duty,


12
     Linda A. Smith and Sandra Benoit v. Clark, Love & Hutson, G.P., Lee & Murphy Law Firm, G.P.; Cause No.
     2021-28921; In the 334th Judicial District Court of Harris County, Texas.
13
     Exhibit 11; Exhibit 3, Scott Love Affidavit.
14
     Exhibit 12.
15
     Exhibit 13.
16
     Exhibit 11.
17
     Id.
18
     Exhibit 14.
19
     Exhibit 15.

                                                      6
       Case 3:22-cv-00294 Document 8 Filed on 10/10/22 in TXSD Page 7 of 13




fraud and legal malpractice. In this case, Benoit and Smith make essentially the same claims that

the plaintiffs made in the Alvarado Case that Judge Hanen dismissed by summary judgment

following full-blown discovery and extensive analysis. This case likewise contains the same claims

that Benoit and Smith made in the state court case that they filed in Harris County and subsequently

voluntarily non-suited after it was transferred to Wharton County.

         Benoit’s and Smith’s filing this case in the Galveston Division—when none of the parties

reside or office in Galveston, when all of the defendants reside and office in Houston, when the

underlying TVM litigation was not pending in Galveston, when Benoit and Smith filed and

prosecuted the identical case in state district court in Houston, and when Judge Hanen has already

ruled on the controlling issues in a case where Benoit’s and Smith’s lawyers represented the

plaintiffs at the time—is nothing less than blatant and improper forum shopping. For the

convenience of the parties, to prevent injustice and the risk of inconsistent rulings, and to promote

efficiency, the Court should transfer this case to the Houston Division of the Southern District of

Texas.

                                          III.
                               MOTION TO TRANSFER VENUE

         28 U.S.C. § 1404 allows a district court to transfer an action filed in a proper, though not

necessarily convenient, venue to a more convenient division. That statute provides, in pertinent

part, for the convenience of the parties and witnesses, in the interest of justice, a district court may

transfer any civil action to any other district or division where it might have been brought or

division to which all parties have consented. 20 When determining if a case should be transferred

to another forum, the trial court “must consider ‘all relevant factors to determine whether or not




20
     28 U.S.C. § 1404(a).

                                                   7
       Case 3:22-cv-00294 Document 8 Filed on 10/10/22 in TXSD Page 8 of 13




the balance of litigation would more conveniently proceed and the interest of justice be better

served.” 21

         Section 1404(a) affords a district court broad discretion to adjudicate motions to transfer

based on a case-by-case, “flexible and individualized analysis,” of convenience and fairness. 22 In

considering a motion to transfer, a court weighs the following discretionary factors: the availability

and convenience of witnesses and parties, the location of counsel, the location of books and

records, the cost of obtaining attendance of witnesses and other trial expenses, the place of the

alleged wrong, the possibility of delay and prejudice if transfer is granted, and the plaintiff’s choice

of forum. 23

         The Houston Division is not only a proper venue, but it is a more convenient venue than

the Galveston Division. There are no CLH witnesses in Galveston. All Texas resident parties in

this litigation are located in Houston. CLH’s and the other defendants’ counsel in this case are in

Houston, which is likewise closer to the locale of Benoit’s and Smith’s counsel—Chappell Hill

and Dallas. The defendants have no books or records in Galveston; they are in Houston. Trial

attendance will be more costly in Galveston because of the need for hotels in Galveston. Moreover,

the alleged wrongdoing occurred in Houston (not Galveston), where CLH and the other defendants

reside and office. So, a transfer to the Houston division for convenience checks all of the boxes,

even without consideration of the other suits that Benoit and Smith and/or their counsel previously

filed and litigated in Houston.

         But this motion is about more than merely checking boxes and asking for a transfer. It is

an effort to curtail the injustice that stems from multiple attempts to improperly forum shop. Again,



21
     Id. (quoting C. Wright, A. Miller & E. Cooper, Federal Practice and Procedure § 3847, at 370 (1986)).
22
     Stewart Org., Inc. v. Ricoh Corp., 487 U.S. 22, 29 (1988).
23
     Smith v. Colonial Penn Ins. Co., 943 F. Supp. 782, 783 (S.D. Tex. 1996).

                                                        8
       Case 3:22-cv-00294 Document 8 Filed on 10/10/22 in TXSD Page 9 of 13




Benoit and Smith originally filed this action in state court in Houston, just thirty days after Judge

Hanen’s summary judgment ruling in the Alvarado Case. That filing was a transparent effort to

avoid Judge Hanen. Then, when the state court in Houston transferred the case to the state court in

Wharton County that approved both Benoit’s and Smith’s settlements, Benoit and Smith

voluntarily nonsuited the case altogether to shop yet another forum—the Galveston District of the

Southern District of Texas.

         Not surprisingly given their forum shopping efforts, Benoit’s and Smith’s complaint is

replete with allegations that are inconsistent with prior findings and rulings of Judge Hanen in the

Alvarado Case, which is just one of the many reasons this case should be transferred to the Houston

Division in the interests of justice and for the convenience of the parties and witnesses. Comity

alone strongly favors a transfer to the Houston Division.

         The United States District Court for the Eastern District of Texas, Marshall Division, has

previously found that a case pending in its Court was better suited for the Northern District of

Texas because the Northern District had prior dealings with the case’s history of litigation and its

offshoots. 24 In granting the defendant’s motion to transfer venue there, the Court stated, “Judge

Lindsay's deep familiarity with the Netsphere litigation and its myriad offshoots weighs heavily in

favor of transfer to the Northern District of Texas. Because the Northern District of Texas is well-

versed in all of the claims, parties, and issues before the Court presently, it is the most appropriate

and best-suited venue for adjudicating this matter.” 25 Additionally, the Court added that “the

soundest reason for transferring this case to the Northern District of Texas is the avoidance of




24
     Associated Recovery, LLC v. Butcher, No. 216CV00126JRGRSP, 2017 WL 497576 (E.D. Tex. Feb. 7, 2017).
25
     Id. at *13.

                                                    9
      Case 3:22-cv-00294 Document 8 Filed on 10/10/22 in TXSD Page 10 of 13




inconsistent rulings or judgments.” 26     While Netsphere involved two different districts, the

reasoning behind the convenience transfer likewise applies here, perhaps even more strongly.

         As such, this case should be transferred to the Houston Division based on convenience of

all parties and witnesses and because the Houston Division is well-versed in all of the claims and

issues that Benoit and Smith previously sought to litigate in Houston but now seek to litigate in

the Galveston Division.

         Benoit and Smith should not be permitted to manipulate the judicial process through forum

shopping. First, Benoit and Smith did not join the Alvarado Case, even though the proceedings

there involved common questions of law/fact and even though Benoit and Smith were represented

by the same lawyers as the Alvarado plaintiffs and made their claim against CLH while the

Alvarado Case was still pending. 27 Instead, Benoit and Smith waited for Judge Hanen’s summary

judgment ruling and, when the ruling was adverse, they filed suit less than 30 days later in a

different forum—state district court in Houston. And when the Houston state court case was

transferred to the proper state court venue in Wharton County where Benoit’s and Smith’s

settlements were judicially approved, Benoit and Smith dismissed the claims altogether. So, after

being dissatisfied with the Houston Division of the Southern District of Texas, the Houston state

district court, and the Wharton County state district court, Benoit and Smith refiled the case here

in the Galveston Division. The Court should not permit this sort of manipulation.

         Finally, transferring the case from the Galveston Division to the Houston Division will not

cause any delay or prejudice to Benoit or Smith. The Galveston Division courthouse is only fifty

miles from the Houston Division courthouse, and the Houston Division courthouse is closer than

the Galveston Division courthouse to the offices of Benoit’s and Smith’s Chappell Hill and Dallas


26
     Id.
27
     Exhibit 16.

                                                 10
        Case 3:22-cv-00294 Document 8 Filed on 10/10/22 in TXSD Page 11 of 13




lawyers, not to mention the airports to which Benoit and Smith would travel from Illinois and

California, respectively. 28 “[I]t is not as if the key witnesses will be asked to travel to the wilds of

Alaska or the furthest reaches on the Continental United States.” 29

           The Court should transfer this case to the Houston Division with a notation that it is related

to the Alvarado Case.

                                                      IV.
                                                  CONCLUSION

           CLH respectfully requests the Court to grant this motion and to transfer this case to the

Houston Division of the Southern District of Texas, with the notation that it is related to the

Alvarado Case. CLH requests any other relief to which it is entitled.

           WHEREFORE, PREMISES CONSIDERED, CLH Defendants respectfully pray that this

Court grant this Motion to Transfer Venue.

                                                       Respectfully Submitted,

                                                       MARTIN, DISIERE, JEFFERSON & WISDOM, L.L.P.

                                                       /s/ Dale Jefferson
                                                       Dale Jefferson
                                                       Texas Bar No. 10607900
                                                       jefferson@mdjwlaw.com
                                                       Raul H. Suazo
                                                       Texas Bar No. 24003021
                                                       suazo@mdjwlaw.com
                                                       808 Travis Street, Suite 1100
                                                       Houston, Texas 77002
                                                       (713) 632-1700
                                                       (713) 222-0101 (Facsimile)
                                                       ATTORNEYS FOR DEFENDANT,
                                                       CLARK, LOVE & HUTSON, G.P., CLAYTON
                                                       A. CLARK, SHELLEY HUTSON, AND BLAKE
                                                       DEADY



28
     Smith, 943 F. Supp. at 784.
29
     Id. (quoting Continental Airlines v. American Airlines, 805 F.Supp. 1392, 1397 (S.D.Tex.1992).

                                                          11
     Case 3:22-cv-00294 Document 8 Filed on 10/10/22 in TXSD Page 12 of 13




                                            SHEPHERD PREWETT PLLC


                                            /s/ Billy Shepherd
                                            Billy Shepherd
                                            Texas Bar No. 18219700
                                            bshepherd@spcounsel.com
                                            770 South Post Oak Land, Suite 420
                                            Houston, Texas 77056
                                            (713) 955-4440
                                            (713) 766-6542 (Facsimile)
                                            ATTORNEY FOR DEFENDANT SCOTT A.
                                            LOVE


                            CERTIFICATE OF CONFERENCE

       I hereby certify that on October 9, 2022, in good faith, counsel for the CLH Defendants
conferred with counsel for Plaintiffs, and an agreement garnering non-opposition as to the relief
requested in this motion could not be reached. Therefore, this motion is opposed.


                                            /s/ Raul H. Suazo
                                            Raul H. Suazo




                                               12
     Case 3:22-cv-00294 Document 8 Filed on 10/10/22 in TXSD Page 13 of 13




                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing instrument has been served on
      th
the 10 day of October 2022, in accordance with the Federal Rules of Civil Procedure.

           George Meredith Bishop
           George_Bishop@sbcglobal.net
           F.M. 1155 South
           Chappell Hill, TX 77416

           B. Ward Maedgen
           ward@texcrime.com
           8144 Walnut Hill Lane, Suite 1080
           Dallas, TX 75231

           ATTORNEYS FOR PLAINTIFFS

           K. Knox Nunnally
           knownunally@warejackson.com
           Don Jackson
           donjackson@warejackson.com
           WARE JACKSON LEE O’NEILL SMITH & BARROW, LLP
           America Tower, 39th Floor
           2929 Allen Parkway
           Houston, TX 77019

           ATTORNEYS FOR DEFENDANT,
           LEE & MURPHY LAW FIRM, G.P.


                                                     /s/ Dale Jefferson
                                                     Dale Jefferson




                                                13
